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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
     Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
         Clerk                        CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                    Filed: October 06, 2022




  Mr. Jonathan Andrew Scruggs
  Alliance Defending Freedom
  15100 N. 90th Street
  Scottsdale, AZ 85260

                       Re: Case No. 22-5807, State of Tennessee, et al v. Department of Education, et al
                           Originating Case No. : 3:21-cv-00308

  Dear Counsel,

     The Court issued the enclosed Order today in this case.

                                                    Sincerely yours,

                                                    s/Ryan E. Orme
                                                    Case Manager
                                                    Direct Dial No. 513-564-7079

  cc: Ms. Courtney E. Albini
      Ms. Jessica M. Alloway
      Mr. Alexander Barrett Bowdre
      Mr. Nicholas J. Bronni
      Mr. James A. Campbell
      Mr. Christian Brian Corrigan
      Mr. Thomas Molnar Fisher
      Mr. Benjamin Michael Flowers
      Mr. Christopher Healy
      Mr. Clark Lassiter Hildabrand
      Mr. Marc Edwin Manley
      Mr. Justin Lee Matheny
      Ms. Cori Marie Mills
      Ms. Elizabeth B. Murrill



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      Mr. Dean John Sauer
      Ms. Kate Blakeley Sawyer
      Mr. Charles W Scarborough
      Ms. Lindsay Sara See
      Mr. Brandon James Smith
      Mr. James Emory Smith Jr.
      Mr. Joseph Scott St. John
      Mr. Jack Starcher
      Mr. Paul Swedlund
      Mr. Drew Waldbeser
      Mr. Zachary Paul West
      Mr. Kurtis Kenneth Wiard
      Ms. LeAnna Wilson
      Mr. W. Scott Zanzig

  Enclosure




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                                             No. 22-5807

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT


  STATE OF TENNESSEE, et al.,                         )
                                                      )
         Plaintiffs-Appellees,                        )
                                                      )
  and                                                 )           ORDER
                                                      )
  ASSOCIATION OF CHRISTIAN SCOOLS                     )
  INTERNATIONAL, et al.                               )
                                                      )
         Intervenors-Appellees,                       )
                                                      )
  v.                                                  )
                                                      )
  DEPARTMENT OF EDUCATION, et al.,                    )
                                                      )
         Defendants-Appellants.                       )


         Defendant appeals the preliminary enjoinment of guidance documents from the

  Department of Education, Department of Justice, and Equal Employment Opportunity

  Commission interpreting a Supreme Court decision as it relates to certain provisions under Title

  VII and Title IX. Intervenor-plaintiffs Association of Christian Schools International (ACSI),

  A.S., C.F., and A.F., move for leave to intervene on appeal in support of the plaintiffs-appellees.

  The motion alleges the plaintiffs do not oppose the motion and the defendants take no position.

         Accordingly, the motion to intervene is GRANTED, and ACSI and the individual parties

  will be allowed to participate in the appeal for purposes of filing an intervenor brief. The caption

  will be updated to reflect this change. Pursuant to and consistent with the mechanics of Sixth

  Circuit Rule 34(e), any determinations regarding oral argument, including time allotted, if any, to




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                                                                                 22-5807
                                                                                   -2-

                                     the intervenor are reserved to the ultimate merits panel. The intervenors are reminded of their

                                     independent obligation to request oral argument, if desired, if and when appropriate. Id.



                                                                                 ENTERED PURSUANT TO RULE 45(a)
                                                                                 RULES OF THE SIXTH CIRCUIT




                                                                                  Deborah S. Hunt, Clerk




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